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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF OHIO
                           WESTERN DIVISION

JOSE MARIA DECASTRO                                   Case No.: 22-cv-00204
                Plaintiff,
        vs.                                           Plaintiffs Response in Opposition

PAM WAGNER, in her individual                         to Defendants' Motion for
and official capacities,                              Judgment on the Pleadings
BRAD SPOLJARIC, in his individual
and official capacities,
CHANCE BLANKENSHIP, in his
individual and official capacities,
EVAN MCKNIGHT, in his individual
and official capacities,
 officer FOUCH, in his individual and
official capacities,


                Defendants,


                 PLAINTIFF'S RESPONSE IN OPPOSITION TO
                 DEFENDANTS' MOTION FOR JUDGMENT ON
                             THE PLEADINGS

TO THE HONORABLE JUDGE OF SAID COURT:


COMES NOW, Plaintiff, Jose Maria DeCastro, appearing pro se in the above­

titled cause, hereby files this, his Response to Defendants' Motion for

Judgment on the Pleadings per Rule 12 (c), and also addresses Defendants'

claims of qualified immunity in compliance with FRCP 6(d).




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Although Defendants filed a Motion to Dismiss, an Answer, and a Motion for

Judgment on the Pleadings in response to Plaintiffs First Amended

Complaint, this filing is responsive to all three of the aforementioned

documents.


                                          I.      SUMMARY
1.     Plaintiff is a videographer, vlogger, and civil rights activist who has

been publishing on media forums such as YouTube, Facebook, Instagram and

the like since approximately 2020.

2.    On Tuesday, March 29, 2022, at approximately 4:00 p.m., Plaintiff and

approximately 14 other individuals were in the Ironton City Hall waiting

hours for a permit to use one of the rooms for a constitutional teaching

session. At approximately 5 p.m., a City of Ironton employee announced that

the building was closing.

3.     At approximately 5:03 p.m., WAGNER approached only Plaintiff and

began yelling at Plaintiff to "cease and desist his unlawful activity", however

Plaintiff was arrested before he even knew what WAGNER was referencing

as "unlawful activity". Plaintiff was not allowed to leave the building but was

arrested by Defendants SPOLJARIC, BLANKENSHIP, MCKNIGHT, and

FOUCH.

4.    The other 14 individuals were not yelled at, or arrested but were given

time to leave the building.



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5.    Plaintiff was taken to the booking area where several criminal charges

were brought against him. In addition, Plaintiff was patted down, searched,

all his property was taken including his wallet, car key, and his iPhone 12

Max Pro, and miscellaneous other items.

6.    While in custody, Plaintiff's Social Security number was extracted from

him under threat and duress.

7.    After posting bond Plaintiff was released, his property was returned with

the exception of his !phone !PHONE DATE RETURN which would require

numerous demands and finally filing a replevin to retrieve. Once the !phone

was returned, it was evident that had been searched and damaged.

8.    Numerous other harassments have continued against Plaintiff since this

original incident which seem to be designed to prevent and deter his First

Amendment protected activities to record the police and other public officials

and to report on their activities in Ironton.


            II.     MEMORANDUM OF POINTS AND AUTHORITIES


        a. LEGAL STANDARD MOTION FOR JUDGMENT ON THE PLEADINGS

9.       Federal Rule of Civil Procedure 8(a)(2) requires only a short and plain

statement of the claim showing that the pleader is entitled to relief.

10.     "To state a claim under 42 U.S.C. § 1983, a plaintiff must set forth

facts that, when construed favorably, establish (1) the deprivation of a right



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secured by the Constitution or laws of the United States (2) caused by a

person acting under the color of state law." Heyne v. Metro. Nashville Pub.

Sch., 655 F.3d

556, 562 (6th Cir. 2011) (quoting Marvin v. City of Taylor, 509 F.3d 234, 243

(6th Cir. 2007)).

11.      A motion to dismiss under Rule 12(b)(6) of the Federal Rules of Civil

Procedure challenges a complaint's compliance with the pleading

requirements of the Federal Rules. In reviewing a motion brought pursuant

to Rule 12(b)(6), the reviewing Court 'accepting all well-pleaded facts as true

and viewing those facts in the light most favorable to the plaintiff.' Keys v.

Humana, Inc., 684 F.3d 605, 608 (6th Cir. 2012). "To survive a motion to

dismiss, a complaint must contain sufficient factual matter, accepted as true,

to 'state a claim to relief that is plausible on its face."Ashcroft v. Iqbal, 556

U.S. 662, 678, 129 S.Ct. 1937, 173 L.Ed.2d 868 (2009) (quoting Bell Atl. Corp.

v. Twombly, 550 U.S. 544, 570, 127 S.Ct. 1955, 167 L.Ed.2d 929 (2007)). "A

claim has facial plausibility when the plaintiff pleads factual content that

allows the court to draw the reasonable inference that the defendant is liable

for the misconduct alleged."" Id. (citing Twombly, 550 U.S. at 556). Factual

allegations that only permit the Court to infer "the mere possibility of

misconduct" do not constitute a short and plain statement of the claim

showing that the pleader is entitled to relief as required by FRCP 8(a)(2). Id.



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at 677, 679 (explaining that Rule 8 "does not require 'detailed factual

allegations,' but it demands more than an unadorned, the-defendant­

unlawfully-harmed-me accusation"). Id. Moreover, a complaint will not be

dismissed merely because it contains an "imperfect statement of the legal

theory supporting the claim asserted." Johnson v. City of Shelby, 574 U.S. 10,

135 S. Ct. 346, 346, 190 L.Ed.2d 309 (2014).

12.      Analysis of a 12(b)(6) motion is confined to the pleadings and

attachments thereto. In evaluating a motion to dismiss under Rule 12(b)(6)

the court accepts as true all factual allegations in the complaint, and

construes ambiguous allegations in the plaintiff's favor. In re Sofamor Danek

Group, Inc., 123 F.3d 394, 400 (6th Cir. 1997).

13.     A motion for judgment on the pleadings under Rule 12(c) is subject to

the same standard of review as a motion under Rule 12(b)(6).

Penny I Ohlmann/ Nieman, Inc. v. Miami Valley Pension Corp., 399 F.3d 692,

697 (6th Cir. 2005).


           b. DEFENDANT'S MOTION FOR JUDGMENT ON THE PLEADINGS


14. Defendants in their Motion for Judgment on the Pleadings, claim that

probable cause existed for the arrest on March 29, 2022, based on assertions

that at 5pm Plaintiff was notified that the building was closing and refused

to leave when told to do so when he was not privileged to be there.



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    15. Defendant's argument is summarized in their statement "Thus, by

    Plaintiffs own admission, he remained on the property after closing and

    refused to leave when told to do so.Therefore,the Ironton Defendants had

probable cause to place Plaintiff under arrest." 1


    16.    In fact,Plaintiff did not refuse to leave when Wagner approached him

but was surprised and standing stationary.2 WAGNER held her hand out in a

"STOP" position and Plaintiff was effectively seized at that moment.He did

not feel free to walk away from WAGNER or leave the building.


17.       A seizure by means of a show of authority requires both a show of

authority and submission to that authority.Id. at 628-29.An officer effects a

seizure by means of a show of authority where "the officer's words and actions

would have conveyed ...to a reasonable person " that "he was being ordered

to restrict his movement," and those words and actions actually "produce his

stop." Id. at 628. Certain "circumstances ...might indicate a seizure, even

where the person did not attempt to leave," including "the display of a

weapon by an officer ...or the use of language or tone of voice indicating that

compliance with the officer's request might be compelled." United States v.

Mendenhall, 446 U.S.544, 554, 100 S. Ct. 1870, 64 L.Ed.2d 497 (1980).



1   Doo#23, PAGEID 171
2   First Amended Complaint Exhibit 1 5:06 to 5: 12



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18.     It is the totality of the circumstances that is evaluated when courts

decide if a citizen was seized. In this case, Plaintiff was also surrounded by

the other defendant officers.

19.     Here, Plaintiff expressed that he was willing to go with them, i.e. out of

the building. "I'm more than willing to go with you", Then WAGNER

interrupted him, saying "you will? Let's go."3 Plaintiff realized they were not

escorting him from the building, but arresting him. Plaintiff then stated, "If

I'm under arrest, I'll go with you". Then he was formally arrested. None of the

other appx. 14 people were arrested but were simply allowed to leave.

Plaintiff immediately yielded to the officers show of authority, and did not

refuse to leave the premises as demonstrated in the pleadings.

20. It is well established that every person has privilege to enter public

buildings. Plaintiff entered lawfully, and did not commit any crime. It could

be said arguendo that Defendants had reasonable suspicion to investigate

and determine if Plaintiff and the 14 other individuals would leave peaceably

since they were still in the lobby after 5 p.m. but that does not easily

translate into probable cause to arrest Plaintiff. See State v. Shelton, 63 Ohio

App. 3d 137, 139-140:




3 First Amended Complaint Exhibit 1 5:06 to 5: 12




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"As a general rule, a person has the right to enter and be upon the public

areas of public property. So we have to ask: May a county official revoke such

a privilege when the official finds that person to be a nuisance? We think

not."

21. Considering the fact that no other individuals were arrested, the

Defendants may not now argue that Plaintiff was not arrested for his First

Amendment activities as he was selectively and specifically targeted and

called by name.

22. The conscious exercise of some selectivity in enforcement is not in itself a

violation of the United States Constitution. Oyler v. Boles, 368 U.S. 448, 82 S.

Ct. 501, 505, 7 L. Ed. 2d 446 (1962). In order for selective enforcement to

reach the level of unconstitutional discrimination the discrimination must be

"intentional or purposeful." Snowden v. Hughes, 321 U.S. 1, 64 S. Ct. 397,

401, 88 L. Ed. 497 (1944). The Ohio Supreme Court has held that in order to

demonstrate intentional and purposeful discrimination, a defendant must

make a prima facie case showing that while others similarly situated have

not generally been proceeded against because of conduct of the type forming

the basis of the charge, the claimant is singled out for prosecution, and the

government's discriminatory selection of the claimant for prosecution has

been invidious or in bad faith, i.e., based upon such impermissible

considerations as race, religion, or the desire to prevent the claimant from



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    exercising his or her constitutional rights. State v. Flynt, 63 Ohio St.2d 132,

    134, 407 N.E.2d 15, 17 (1980) (quoting United States v. Berrios, 501 F.2d

    1207, 1211 (2nd Cir. 1974); Gardenhire v. Schubert, 205 F.3d 303, 319 (6th

    Cir. 2000) (citing United States v. Anderson, 923 F.2d 450, 453 (6th

    Cir.1991)).

    23. Regarding Plaintiffs due process claims, Plaintiffs phone was not

    returned to Plaintiff when he was released from custody, he was required to

file a replevin to retrieve the phone, then it was damaged when it was

returned. Additionally, the phone had been searched4, despite an application

for a search warrant being denied.

24. Further, the Defendants proffer the Entry Order regarding the Replevin

action from the state court as evidence that the state court already addressed

any damage concerns. However, there was no replevin hearing. The order

referred to as Exhibit E 5 was issued after a pretrial criminal hearing had

been conducted. Directly after the hearing, WAGNER approached Plaintiff

and handed him his I phone in a bag. Exhibit E "Entry", demonstrates that

the phone was returned to Decastro during the hearing, but it was after the

hearing that the phone was returned to Plaintiff. Therefore, the Plaintiff was




4   DOC #23-3 PGID# 213 Entry Regarding Application for Search Warrant
5   DOC#23-5 PGID# 217 Defendant's Motion for Judgment on Pleadings Exhibit E



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 unable to even view the phone during the hearing, let alone report any

 damages.

 25. This "Entry" did not reflect the actual facts at the time of the hearing,

and appears to contain a boilerplate sentence regarding damages which did

not reflect any actual facts surrounding the hearing.

26. Further regarding the First Amendment Retaliation, Defendants state

that there is no underlying constitutional violation that this claim can rest

upon, however an unlawful arrest based on First Amendment activities is

certainly such a violation. People in the building with Plaintiff whom were

similarly situated, were not arrested, but rather WAGNER stepped around at

least one of those individuals in order to seize Plaintiff as she knew him by

name.

27. The Qualified Immunity analysis begins by viewing the allegations in

the complaint in the light most favorable to the Plaintiff, once there appears

that a violation of rights secured by the Constitution has been pled, then the

analysis moves to whether the right(s) were clearly established in the specific

judicial circuit.

28. Plaintiff has alleged sufficient facts comprising unlawful arrest that

when construed to be true constitute 4th Amendment violations. Plaintiff has

also alleged sufficient facts comprising unlawful search and seizure of his

phone which construed to be true constitute additional 4th amendment



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 violations. Plaintiff has alleged sufficient facts comprising 14th Amendment

violations stemming from phone search and seizure.

29. Qualified immunity attaches when an official's conduct does not violate

clearly established statutory or constitutional rights of which a reasonable

person would have known. When an officer raises a qualified immunity

defense, we determine (1) whether, considering the allegations in a light most

favorable to the party injured, a constitutional right has been violated, and

(2) whether that right was clearly established. Butler u. City of Detroit, 936

F.3d 410, 414 (6th Cir. 2019).

30. In the 6th Circuit, it is clearly established that an arrest not supported

by probable cause violates the Fourth Amendment. Stahl u. Coshocton Cty.,

754 F. App'x 335 (6th Cir. 2018).

31. Plaintiffs injuries stem from the incident on March 29, 2022 which is the

subject of this suit. The arrest was conducted with no probable cause thereby

viscerating any qualified immunity.

32. To find a municipality liable under §1983, a plaintiff must establish that

(1) a policymaker (2) promulgates a policy or custom (3) that is the "moving

force" of a violation of constitutional rights. Monell u. Dep 't of Soc. Serus. of

N. Y.C., 436 U.S. 658, 694, 98 S.Ct. 2018, 56 L.Ed.2d 611 (1978). An official

policy "usually exists in the form of written policy statements, ordinances, or

regulations, but may also arise in the form of a widespread practice that is 'so


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common and well-settled as to constitute a custom that fairly represents

municipal policy.'" James v. Harris Cty., 577 F.3d 612, 617 (5th Cir. 2009)

(quoting *288 Piotrowski v. City of Hous., 237 F.3d 567, 579 (5th Cir. 2001)).

The policy must be either unconstitutional or "adopted with deliberate

indifference to the known or obvious fact that such constitutional violations

would result." Id. (internal quotation marks omitted).

33. Failure to train may represent a policy for which the city may be held

liable only if it directly causes injury. City of Canton v. Harris, 489 U.S. 378,

390, 109 S.Ct. 1197, 103 L.Ed.2d 412 (1989). The fact that an officer could be

"unsatisfactorily trained" is not enough to trigger the municipality's liability.

Id. at 390-91, 109 S.Ct. 1197. The plaintiff must show that (1) the training

policy was deficient, (2) the County was deliberately indifferent to this

deficiency in adopting the policy, and (3) the deficient training policy directly

caused the constitutional violation. Shumpert v. City of Tupelo, 905 F.3d 310,

317 (5th Cir. 2018).

34. However, sufficient proof to find a policy maker ultimately liable under

§1983 is a different standard than that needed at the pleading stage to

overcome a motion made pursuant to Rule 12(b)(6). See Leatherman v.

Tarrant County Narcotics Intelligence and Coordination Unit, 507 U.S. 163,

164, 113 S.Ct. 1160, 122 L.Ed.2d 517 (1993) (a federal court may not apply a

standard "more stringent than the usual pleading requirements of Rule 8(a)"



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in "civil rights cases alleging municipal liability"); Swierkiewicz v. Sorema N.

A., 534 U.S. 506, 512, 122 S.Ct. 992, 152 L.Ed.2d 1 (2002)

35. In its Motion Defendants essentially make three points for dismissal in

their brief, (1) Plaintiff has alleged no facts showing a formal policy(2),

Plaintiff has not plead any widespread custom of similar instances, even in

conclusory form, and (3) Plaintiff has conclusory allegations that the City of

Ironton had tolerance or acquiesced to any policy.

36. In the instant case, Plaintiff has provided a significant amount of detail

in the form of exhibits which are part of the general factual allegations that

support his complaint.

37. Plaintiff alleges that he was arrested without probable cause as

WAGNER and the officer DEFENDANTS knew Plaintiff was not engaged in

the act of committing a crime. Further Plaintiff has alleged it was due to the

practices of the CITY OF IRONTON.

38. As such Plaintiff is only required to plead facts. See Groden v. City of

Dallas, Texas, 826 F.3d 280, 285 (5th Cir. 2016) Thus, to survive a motion to

dismiss, Groden needed only to plead facts-facts which establish that the

challenged policy was promulgated or ratified by the city's policymaker. See

also Johnson, 135 S.Ct. at 346 "...courts should not grant motions to dismiss§

1983 cases "for imperfect statement of the legal theory," we see that courts




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should not grant motions to dismiss for failing to plead the specific identity of

the policymaker. See Johnson, 135 S.Ct. at 346.

 39. If the underlying facts were lacking, which is all that is required of

Plaintiff at the pleading stage, he should be given leave to add them. See Fed.

Rule Civ. Proc. 15(a)(2) "The court should freely give leave [to amend a

pleading] when justice so requires."


                            III.    CONCLUSION AND PRAYER


40.     WHEREFORE, Plaintiff has clearly demonstrated that the causes of action are
supported with the facts and the exhibits attached to Plaintiffs First Amended
Complaint. Plaintiff respectfully requests that the Defendants' Motion be denied in
its entirety as discussed in this response, so that this case can proceed and be
decided on the merits. Further, Plaintiff has clearly demonstrated had he not been
engaged in first amendment protected activities, he would not have been
approached or seized by the Defendants.



DATED this 30th day of November, 2022.




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                               CERTIFICATE OF SERVICE

 I, Jose Maria DeCastro, Plaintiff in this matter, do hereby certify that, on the November
 30, 2022, the foregoing document was sent to be filed in the captioned court and served
 upon the following defendants via the courts ECF system and/or regular mail:

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